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In the United States Court of Federal Claims
                                   No. 13-272C
                              (Filed March 26, 2014)
                             NOT FOR PUBLICATION

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                        *
STEPHEN JANOSKI,        *
                        *
             Plaintiff, *
                        *
         v.             *
                        *
THE UNITED STATES,      *
                        *
             Defendant. *
                        *
*************************

                                      ORDER

       Pending before the Court are three motions. Defendant initially moved to
transfer the original complaint in this case to the United States District Court for
the Eastern District of Virginia. After that motion was fully briefed, plaintiff
submitted a First Amended Complaint, purporting to add five additional plaintiffs.
The government responded with a motion to transfer the amended complaint to the
aforementioned district court, or, in the alternative, to strike the amended pleading.
In his paper opposing this motion, plaintiff belatedly requested leave to file the
amended complaint, which the Court construes as a motion to that end. See Pls.’
Opp’n to Def.’s Mot. to Transfer Pls.’ First Am. Compl. at 2 n.2, ECF No. 24 (Pl.’s
Opp’n).

       Taking the last matter first, the only reason the government gives for
opposing the filing of the amended pleading is futility based on its jurisdictional
argument for transfer. Def.’s Reply at 6 n.3, ECF No. 25. As we will see shortly,
this argument is incorrect. But failure to offer a good reason to oppose leave to file
an amended pleading is not the same thing as written consent to such a filing.
Thus, the plaintiff would still need leave of court to file the amended pleading,
which was submitted (many) more than twenty-one days after the government filed
its answer. See Rule 15(a) of the Rules of United States Court of Federal Claims
(RCFC). Although we liberally grant motions to amend complaints and defendant
has not identified any prejudice that would result from the amendment, the Court
finds that plaintiff’s request for leave suffers a fatal defect.
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       Plaintiff submitted the first amended complaint on September 25, 2013, with
no accompanying motion under RCFC 15(a)(2) for leave to file the document, and
thus under our rules it could not have been filed as of that date. By the time
plaintiff requested leave to file the amended complaint, in a document filed on
November 26, 2013, a complaint had already been filed in our court containing the
claims of the other five purported plaintiffs. See Compl., Anderson v. United States,
No. 13-884C (Fed. Cl. Nov. 7, 2013). Since “[p]arties may not split the same claim
into more than one lawsuit before the same court,” Young v. United States, 60 Fed.
Cl. 418, 423-24 (2004) (citations omitted), once the claims of the five plaintiffs in
Anderson were filed in that lawsuit, they could not be added to this lawsuit through
the amendment process. † Accordingly, the motion for leave to file the amended
complaint is DENIED, the government’s motion (in the alternative) to strike the
amended complaint is GRANTED, and defendant’s motion to transfer the amended
complaint is DENIED as moot.

       This brings us to the government’s first motion to transfer the original
complaint. Defendant argues that we lack subject-matter jurisdiction over
plaintiffs’s Fair Labor Standards Act (FLSA) claims, under its reading of United
States v. Bormes, 133 S. Ct. 12, 18-19 (2012). The undersigned, in an unrelated
matter, disagreed with the government’s theory. Farzam v. United States, 13-075C,
2013 WL 5819273 (Fed. Cl. Oct. 29, 2013). Last week the Federal Circuit confirmed
the correctness of this Court’s view, holding that the Tucker Act gives our court
exclusive jurisdiction over FLSA claims seeking more than ten thousand dollars in
damages. See Abbey v. United States, No. 2013-5009, Slip Op. at 10-17 (Fed. Cir.
Mar. 21, 2014). Applying this binding precedent, defendant’s motion to transfer is
DENIED. The parties shall file the Joint Preliminary Status Report on or by
Wednesday, April 16, 2014.

       Finally, the Court notes that the plaintiff has requested that this case be
consolidated with Anderson, Pl.’s Opp’n at 2 n.2, and that the government does not
oppose such consolidation, see Def.’s Reply at 7. Although RCFC 42.1 requires
motions to consolidate to be filed in each case for which consolidation is sought, in
this particular circumstance this is a technicality with which we can dispense.
Considering that the request for consolidation was made in a paper that was filed
on behalf of the plaintiffs purportedly appearing in both cases, and that the request
was quoted in a paper filed by the government in Anderson, see Def.’s Unopp. Mot.
to Stay Proceedings at 2, Anderson, No. 13-884C, ECF No. 6, any purpose behind
the rule has been served. Accordingly, this case and Anderson are hereby


†
  These claims cannot relate back to the date the initial complaint was filed in this
case, under RCFC 15(c)(1)(A), as the Fair Labor Standards Act provides that
plaintiffs become parties by the filing of their written consent forms. See 29 U.S.C.
§ 216(b); Whitehorn v. Wolfgang’s Steakhouse, Inc., 767 F. Supp. 2d 445, 449
(S.D.N.Y. 2011).
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CONSOLIDATED. The government need not file a separate answer addressing
the claims of the Anderson plaintiffs, but if it chooses to do so must file this
amended answer on or by Wednesday, April 9, 2014.

IT IS SO ORDERED.


                                      Victor J. Wolski
                                      VICTOR J. WOLSKI
                                      Judge




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